Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 1 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 2 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 3 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 4 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 5 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 6 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 7 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 8 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 9 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 10 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 11 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 12 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 13 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 14 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 15 of 37
          Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 16 of 37



                                    Amazon, et al. v. Umer Wasim, et al.
                                           4:23cv05580 DMR
                                     ATTACHMENT TO SUMMONS

         UMER WASIM, an individual
         5511 Lori Ln.
         West Fargo, ND 58078

         TEKNOBYL DIGITAL LLC, a Wyoming limited liability company,
         Registered Agents Inc.,
         30 N Gould St Ste R,
         Sheridan, WY 82801

         MUHAMMAD USMAN KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

         VTLOGODESIGN, INC., a Florida corporation,
         Registered Agent- VOIPTERMINATOR INC,
         250 Intl Pkwy 108,
         Lake Mary, FL 32746


         MK AFFILIATES, INC., a Florida corporation,
         Registered Agent- Kelly Miller,
         1317 Edgewater Drive,
         Orlando FL, 32804

         ALI ALAM, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         DYNAMIC DIGITAL SOLUTIONS LLC, a Virginia limited liability company,
         Registered Agent- Ali Alam,
         44075 Pipeline Plz Ste 215,
         Ashburn, VA 20147

         MEHWASH MUNIR, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         ONE STOP COMPUTER SERVICES LLC, a Virginia limited liability company,
         Registered Agent- Mehwash Munir,
         44075 Pipeline Plz Ste 215,
         Ashburn, VA 20147




4866-8392-1295v.1 0051461-005955
          Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 17 of 37



         MUHAMMAD ZUBAIR KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017


         TECHTURE INC., a California corporation,
         Registered Agent- Muhammad Khan,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

         MUHAMMAD MUDASSAR ANWAR, an individual,
         919 Wilmot Rd.,
         Scarsdale, NY 10583

         TECH DRIVE PVT LLC, a New York limited liability company,
         NY Sec of State designated as agent,
         One Commerce Plaza
         99 Washington Ave.,
         Albany, NY 12231

         ASHHAR RAWOOF, an individual,
         11930 Newbrook Dr.,
         Houston, TX 77072


         SMART STARTUP SOLUTIONS, LLC Illinois limited liability company,
         United States Corporation Agent,
         500 N Michigan Ave STE 600,
         Chicago, IL 60611

         YASIR AGAR, an individual,
         Flat 402, 4th Floor, Zulekha Palace, Plot #15,
         BMCHS, Sharfabad, Karachi, PK 74800


         MAVIA NIZAM, an individual,
         1/22 Shah Faisal Colony,
         Karachi, PK 75700


         MUHAMMAD SHIRAZ QURESHI, an individual
         N-121 PECHS, Block 2,
         Karachi, PK 74400




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4866-8392-1295v.1 0051461-005955
                            Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 18 of 37

      AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

      Civil Action No. 4:23-CV-5580 DMR

                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

                This summons for (name of individual and title, if any) TECHTURE INC., a California corporation
      was received by me on (date)                  11/14/2023


                 X I personally served the summons on the individual at (place) MUHAMMAD KHAN, Registered Agent

                1221 W 3rd Street, Apt. 502, Los Angeles, CA 90017                    on (date)      11/14/2023 at 10:19am   ; or

                    I left the summons at the individual’s residence or usual place of abode with (name)
                                                                       , a person of suitable age and discretion who resides there,
                on (date)                                , and mailed a copy to the individual’s last known address; or

                    I served the summons on (name of individual)                                                                    , who is
                designated by law to accept service of process on behalf of (name of organization)
                                                                                       on (date)                             ; or

                    I returned the summons unexecuted because                                                                           ; or

                    Other (specify):




                My fees are $                           for travel and $                   for services, for a total of $


                I declare under penalty of perjury that this information is true.


      Date:         11/14/2023
                                                                                                   Server’s signature

                                                                                         Robert Brooks - Process Server
                                                                                              Printed name and title
                                                                                                   ASAP Legal
                                                                                 1625 Clay Street, 4th Floor, Oakland, CA 94612
                                                                                                (510) 785-2300
                                                                                               Ref: SF34022215
                                                                                                   Server’s address

      Additional information regarding attempted service, etc:

Additional documents served:

Complaint; Demand for Jury Trial; Order Setting Initial Case Management Conference and ADR Deadlines; Standing Order for Magistrate
Judge Donna M. Ryu; Consent or Declination to Magistrate Judge Jurisdiction (blank); Notice of Electronic Filing - Notice of Assignment
of Case Redacted
                    Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 19 of 37

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                NORTHERN DISTRICT OF CALIFORNIA


                                                                   )
AMAZON.COM, INC., a Delaware corporation, and                      )
AMAZON TECHNOLOGIES, INC., a Nevada                                )
corporation                                                        )
                            Plaintiff(s)
                                                                   )
                                                                   )
                                 v.                                                     Civil Action No. 4:23-cv-5580 DMR
                                                                   )
                                                                   )
                                                                   )
                                                                   )
UMER WASIM, et al.                                                 )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    PLEASE SEE ATTACHMENT




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     John D. Freed
     DAVIS WRIGHT TREMAINE LLP
     50 California Street, 23rd Floor
     San Francisco, CA 94111



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:       11/8/2023                                                                                         Thelma Nudo
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Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 20 of 37
                    Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 21 of 37

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                NORTHERN DISTRICT OF CALIFORNIA


                                                                   )
AMAZON.COM, INC., a Delaware corporation, and                      )
AMAZON TECHNOLOGIES, INC., a Nevada                                )
corporation                                                        )
                            Plaintiff(s)
                                                                   )
                                                                   )
                                 v.                                                     Civil Action No. 4:23-cv-5580 DMR
                                                                   )
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                                                                   )
                                                                   )
UMER WASIM, et al.                                                 )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    PLEASE SEE ATTACHMENT




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     John D. Freed
     DAVIS WRIGHT TREMAINE LLP
     50 California Street, 23rd Floor
     San Francisco, CA 94111



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:       11/8/2023                                                                                         Thelma Nudo
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          Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 22 of 37



                                    Amazon, et al. v. Umer Wasim, et al.
                                           4:23cv05580 DMR
                                     ATTACHMENT TO SUMMONS

         UMER WASIM, an individual
         5511 Lori Ln.
         West Fargo, ND 58078

         TEKNOBYL DIGITAL LLC, a Wyoming limited liability company,
         Registered Agents Inc.,
         30 N Gould St Ste R,
         Sheridan, WY 82801

         MUHAMMAD USMAN KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

         VTLOGODESIGN, INC., a Florida corporation,
         Registered Agent- VOIPTERMINATOR INC,
         250 Intl Pkwy 108,
         Lake Mary, FL 32746


         MK AFFILIATES, INC., a Florida corporation,
         Registered Agent- Kelly Miller,
         1317 Edgewater Drive,
         Orlando FL, 32804

         ALI ALAM, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         DYNAMIC DIGITAL SOLUTIONS LLC, a Virginia limited liability company,
         Registered Agent- Ali Alam,
         44075 Pipeline Plz Ste 215,
         Ashburn, VA 20147

         MEHWASH MUNIR, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         ONE STOP COMPUTER SERVICES LLC, a Virginia limited liability company,
         Registered Agent- Mehwash Munir,
         44075 Pipeline Plz Ste 215,
         Ashburn, VA 20147




4866-8392-1295v.1 0051461-005955
          Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 23 of 37



         MUHAMMAD ZUBAIR KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017


         TECHTURE INC., a California corporation,
         Registered Agent- Muhammad Khan,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

         MUHAMMAD MUDASSAR ANWAR, an individual,
         919 Wilmot Rd.,
         Scarsdale, NY 10583

         TECH DRIVE PVT LLC, a New York limited liability company,
         NY Sec of State designated as agent,
         One Commerce Plaza
         99 Washington Ave.,
         Albany, NY 12231

         ASHHAR RAWOOF, an individual,
         11930 Newbrook Dr.,
         Houston, TX 77072


         SMART STARTUP SOLUTIONS, LLC Illinois limited liability company,
         United States Corporation Agent,
         500 N Michigan Ave STE 600,
         Chicago, IL 60611

         YASIR AGAR, an individual,
         Flat 402, 4th Floor, Zulekha Palace, Plot #15,
         BMCHS, Sharfabad, Karachi, PK 74800


         MAVIA NIZAM, an individual,
         1/22 Shah Faisal Colony,
         Karachi, PK 75700


         MUHAMMAD SHIRAZ QURESHI, an individual
         N-121 PECHS, Block 2,
         Karachi, PK 74400




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4866-8392-1295v.1 0051461-005955
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 24 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 25 of 37
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Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 27 of 37
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 28 of 37
                    Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 29 of 37

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                NORTHERN DISTRICT OF CALIFORNIA


                                                                   )
AMAZON.COM, INC., a Delaware corporation, and                      )
AMAZON TECHNOLOGIES, INC., a Nevada                                )
corporation                                                        )
                            Plaintiff(s)
                                                                   )
                                                                   )
                                 v.                                                     Civil Action No. 4:23-cv-5580 DMR
                                                                   )
                                                                   )
                                                                   )
                                                                   )
UMER WASIM, et al.                                                 )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    PLEASE SEE ATTACHMENT




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     John D. Freed
     DAVIS WRIGHT TREMAINE LLP
     50 California Street, 23rd Floor
     San Francisco, CA 94111



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:       11/8/2023                                                                                         Thelma Nudo
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          Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 30 of 37



                                    Amazon, et al. v. Umer Wasim, et al.
                                           4:23cv05580 DMR
                                     ATTACHMENT TO SUMMONS

         UMER WASIM, an individual
         5511 Lori Ln.
         West Fargo, ND 58078

         TEKNOBYL DIGITAL LLC, a Wyoming limited liability company,
         Registered Agents Inc.,
         30 N Gould St Ste R,
         Sheridan, WY 82801

         MUHAMMAD USMAN KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

         VTLOGODESIGN, INC., a Florida corporation,
         Registered Agent- VOIPTERMINATOR INC,
         250 Intl Pkwy 108,
         Lake Mary, FL 32746


         MK AFFILIATES, INC., a Florida corporation,
         Registered Agent- Kelly Miller,
         1317 Edgewater Drive,
         Orlando FL, 32804

         ALI ALAM, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         DYNAMIC DIGITAL SOLUTIONS LLC, a Virginia limited liability company,
         Registered Agent- Ali Alam,
         44075 Pipeline Plz Ste 215,
         Ashburn, VA 20147

         MEHWASH MUNIR, an individual,
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         ONE STOP COMPUTER SERVICES LLC, a Virginia limited liability company,
         Registered Agent- Mehwash Munir,
         44075 Pipeline Plz Ste 215,
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4866-8392-1295v.1 0051461-005955
          Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 31 of 37



         MUHAMMAD ZUBAIR KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017


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         Registered Agent- Muhammad Khan,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

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         BMCHS, Sharfabad, Karachi, PK 74800


         MAVIA NIZAM, an individual,
         1/22 Shah Faisal Colony,
         Karachi, PK 75700


         MUHAMMAD SHIRAZ QURESHI, an individual
         N-121 PECHS, Block 2,
         Karachi, PK 74400




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4866-8392-1295v.1 0051461-005955
                           Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 32 of 37

     AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

     Civil Action No. 4:23-CV-5580 DMR

                                                           PROOF OF SERVICE
                           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

               This summons for (name of individual and title, if any) MUHAMMAD ZUBAIR KHAN, an individual
     was received by me on (date)                 11/14/2023


                X I personally served the summons on the individual at (place) MUHAMMAD ZUBAIR KHAN, an individual

               1221 W 3rd Street, Apt. 502, Los Angeles, CA 90017                    on (date)      11/14/2023 at 10:19am   ; or

                   I left the summons at the individual’s residence or usual place of abode with (name)
                                                                      , a person of suitable age and discretion who resides there,
               on (date)                                , and mailed a copy to the individual’s last known address; or

                   I served the summons on (name of individual)                                                                    , who is
               designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                             ; or

                   I returned the summons unexecuted because                                                                           ; or

                   Other (specify):




               My fees are $                           for travel and $                   for services, for a total of $


               I declare under penalty of perjury that this information is true.


                 11/14/2023
     Date:
                                                                                                  Server’s signature

                                                                                        Robert Brooks - Process Server
                                                                                             Printed name and title
                                                                                                  ASAP Legal
                                                                                1625 Clay Street, 4th Floor, Oakland, CA 94612
                                                                                               (510) 785-2300
                                                                                              Ref: SF34022214
                                                                                                  Server’s address

     Additional information regarding attempted service, etc:

Additional documents served:

Complaint; Demand for Jury Trial; Order Setting Initial Case Management Conference and ADR Deadlines; Standing Order for Magistrate
Judge Donna M. Ryu; Consent or Declination to Magistrate Judge Jurisdiction (blank); Notice of Electronic Filing - Notice of Assignment
of Case Redacted
                    Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 33 of 37

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                NORTHERN DISTRICT OF CALIFORNIA


                                                                   )
AMAZON.COM, INC., a Delaware corporation, and                      )
AMAZON TECHNOLOGIES, INC., a Nevada                                )
corporation                                                        )
                            Plaintiff(s)
                                                                   )
                                                                   )
                                 v.                                                     Civil Action No. 4:23-cv-5580 DMR
                                                                   )
                                                                   )
                                                                   )
                                                                   )
UMER WASIM, et al.                                                 )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    PLEASE SEE ATTACHMENT




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     John D. Freed
     DAVIS WRIGHT TREMAINE LLP
     50 California Street, 23rd Floor
     San Francisco, CA 94111



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:       11/8/2023                                                                                         Thelma Nudo
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                           Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 34 of 37

     AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

     Civil Action No. 4:23-CV-5580 DMR

                                                           PROOF OF SERVICE
                           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
                                                                          SMART STARTUP SOLUTIONS, LLC,
               This summons for (name of individual and title, if any) an Illinois limited liability company
     was received by me on (date)                    11/14/2023


                   I personally served the summons on the individual at (place)
                                                                                     on (date)                             ; or

                   I left the summons at the individual’s residence or usual place of abode with (name)
                                                                      , a person of suitable age and discretion who resides there,
               on (date)                                , and mailed a copy to the individual’s last known address; or

                   I served the summons on (name of individual)           Daniel George - Employee/Authorized                     , who is
                                                                                                  United States Corporation Agent,
               designated by law to accept service of process on behalf of (name of organization) Registered Agent
               500 N. Michigan Avenue, Suite 600, Chicago, IL 60611                   on (date) 11/20/2023 at 11:15AM ; or

                   I returned the summons unexecuted because                                                                          ; or

                   Other (specify):




               My fees are $                           for travel and $                   for services, for a total of $


               I declare under penalty of perjury that this information is true.


     Date:       11/22/2023
                                                                                                 Server’s signature

                                                                                 Michael Moriarty - Process Server
                                                                                             Printed name and title
                                                                                         ASAP Legal
                                                                       1625 Clay Street, 4th Floor, Oakland, CA 94612
                                                                                      (510) 785-2300
                                                                     Ref: SF34022221
                                                                                                 Server’s address

     Additional information regarding attempted service, etc:



Additional documents served:
Complaint; Demand for Jury Trial; Order Setting Initial Case Management Conference and ADR Deadlines; Standing Order for Magistrate
Judge Donna M. Ryu; Consent or Declination to Magistrate Judge Jurisdiction (blank); Notice of Electronic Filing - Notice of Assignment
of Case Redacted
Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 35 of 37
          Case 4:23-cv-05580-DMR Document 18 Filed 12/05/23 Page 36 of 37



                                    Amazon, et al. v. Umer Wasim, et al.
                                           4:23cv05580 DMR
                                     ATTACHMENT TO SUMMONS

         UMER WASIM, an individual
         5511 Lori Ln.
         West Fargo, ND 58078

         TEKNOBYL DIGITAL LLC, a Wyoming limited liability company,
         Registered Agents Inc.,
         30 N Gould St Ste R,
         Sheridan, WY 82801

         MUHAMMAD USMAN KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

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         MK AFFILIATES, INC., a Florida corporation,
         Registered Agent- Kelly Miller,
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         Orlando FL, 32804

         ALI ALAM, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         DYNAMIC DIGITAL SOLUTIONS LLC, a Virginia limited liability company,
         Registered Agent- Ali Alam,
         44075 Pipeline Plz Ste 215,
         Ashburn, VA 20147

         MEHWASH MUNIR, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         ONE STOP COMPUTER SERVICES LLC, a Virginia limited liability company,
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         TECH DRIVE PVT LLC, a New York limited liability company,
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         ASHHAR RAWOOF, an individual,
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         SMART STARTUP SOLUTIONS, LLC Illinois limited liability company,
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